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August 7, 2023

Hon. Ramon E. Reyes
United States District Court
Eastern District of New York
225 Cadman Plaza East
Courtroom 2E North
Brooklyn, NY 11201

Re: Shorey v. Superb Motors Inc., et. al.
EDNY Index No.: 23-CV-03885

Your Honor:

Please be advised that this office represents Defendant Superb Motors, Inc., with respect
to the above referenced matter. | am writing in response to Plaintiff's attorney’s letter filed
today. I spent a considerable amount of time working on this case, and it is news to me that the
case has settled. To be clear: I am the attorney of record for the Defendant, Superb Motors, Inc.;
after receiving a telephone call and speaking with Plaintiff's attorney a few weeks ago (for which
he could not have been more gracious in thanking me for my time about this matter since I knew
nothing about this case prior to that phone call) I took a considerable amount of time doing legal
research and preparing the Answer in this case. As of today, I have heard nothing more from the
parties in this action since I filed that Answer, and now Plaintiff's attorney reports that “...all
parties request an adjournment...” of the upcoming conference because the “case has settled.”

While I fully support an adjournment of that conference for a variety of reasons,
including my upcoming vacation, I cannot report to this Court that “all parties” wish to report a
“settlement,” since no one has ever spoken to me about settling this case, and I am (at least) the
initial attorney to file the Answer on behalf of Superb Motors, Inc. Moreover, I have not
authorized anyone to speak on my behalf regarding this case, just to be clear.

So I am writing to inform the Court that I would join in an adjournment request, I would
like this matter to be adjourned into September, and I would like nothing more than the
opportunity as Superb’s counsel to sign a Stipulation dismissing this action, but as of today, it is
news to me. I remain,

Very truly yo

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Harry R. Thomasson
